* Rehearing denied May 22, 1933.
William H. Gautreaux, Jr., plaintiff, was a guest passenger in an automobile truck which collided with the center supporting pier of an overhead railroad crossing near Harahan, La., and sued to recover from the defendant for the personal injuries arising therefrom.
In the matter of Frank J. Becker v. Illinois Central Railroad Company, 147 So. 378, decided *Page 384 
by us to-day, we discussed at length the facts of the case and the law applicable thereto, and in the matter of Frank J. Abadie v. Texas  New Orleans Railroad Company, 147 So. 384, also decided this day, we held that whether there was contributory negligence of the persons riding in the automobile truck was of no importance, since there could be no recovery in any event.
In the district court, judgment was rendered herein in plaintiff's favor for $1,250.
For the reasons given in the two cases mentioned, it is ordered, adjudged, and decreed that the judgment appealed from be, and it is, annulled, avoided, and reversed, and that plaintiff's suit be dismissed, at his cost.
Reversed.
For the reasons given in Frank J. Becker v. Illinois Central R. R. Co., 147 So. 378, decided this day:
WESTERFIELD, J., dissents.
HIGGINS, J., concurs.